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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------X
UNITED STATES OF AMERICA                              :

                 -v-                                :     CR 20-203 (BMC)

COLINFORD MATTIS                                    :     NOTICE OF MOTION
AND UROOJ RAHMAN,
                                                    :     ORAL ARGUMENT REQUESTED
                                    Defendants.
------------------------------------------------------X

                 PLEASE TAKE NOTICE, that upon the accompanying memorandum of law,

defendant Urooj Rahman will move before this Court, at a date and time fixed by the Court, for an

Order dismissing Counts One through Five of the Indictment as legally defective.

Dated: New York, New York
       September 17, 2021

                                                          Respectfully submitted,

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